 

l\lational Headquarters

1101 l:ourtc€nlh Street` NW

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Washmgton_ DC 20005
Telep|ionc 202-652-9400
ljle 202-632-1331
\’\-'\\f\v,dclerrders.org

www. kidsplanel`org

Case 1:03-cV-01192-ESH Document14-5 Filed 09/25/ll

  
 

7, O"<:L? -OC) /
February 4, 2003

FREEDOM OF INFORMATION ACT APPEAL

‘ VIA HAND DELIVERY

FOIA Appeals Offrcer

Offlce of the Assistant Secretary-
Policy, Management and Budget

U.S. Department of the lnterior

1849 C Street, N.W.

Mail Stop 5312, l\/IIB

Washington, D.C. 20240

Re: Freedom of r1 ormation Act .
Dear Appeals Officer:

Defenders of Wildlife (“Defenders”), Friends of the Earth (“FOE"), and
the Endangered Species Coalition (“ESC”`) hereby appeal, pursuant to the
Freedom.of lnformation Act (FOLA), 5 U.S.C. § 552(a`)(6`), U.S. Department
of the lnterior Regulations, 43 C.F.R. § 2.28], and other appropriate legal
authority, the adverse determination (in the fomi of nonresponses, claimed
exemptions and other withholdings) by the U.S. Department of the lnterior
(“the Department”) of the FOIA request by Defenders and FoE. The requested
information is in the public interest because of the public?s clear and
compelling need for information regarding the regulatory integrity of
Department officials and conflicts of interest that may affect the management
of Department-administered lands.

BACKGROUND

Defenders and FoE submitted a FOlA request on September 25, 2002
(enclosed) to the Department requesting, inter alia, documents relating to the
conduct of various Department officials, including Deputy Secretary J. Steven
Griles. In its letter dated, October 25, 2002, the Department stated that it Was
taking a lO-working-day time extension to process our request By its letter
dated Decernber 6, 2002, the Department transmitted documents that We had
requested in item #l of our FOIA request

 

lThe Department of the Interior revised its FOlA regulations, effective
November 30, 2002. 67 Fed. Reg. 64527-52 (October 21, 2002). We cite the
revised regulations throughout this appeal

 

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EX latta-ri t `1’~`~"

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ln its letter dated January 8, 2003 (hereinafter “Department’s Response”), postmarked
January 16, 2003, and delivered to Defenders’ offices on January 21 , the Department stated that
it was withholding numerous documents in full and withholding some documents partially. The
Department’s Response was accompanied by a two-page list generally describing the records
withheld. The response also stated that it was referring one document to the U.S. Office of
Governrnent Ethics for further determination and that we “may expect to hear from this office

shortly with respect to the public availability of this document.” To date we have not heard from
that office.

With the exception of the documents withheld under exemption 6 of the FOIA, 5 U.S.C.
§ 552(b)(6) (“38 pages of brokerage and account statements of J. Steven Griles,” Department’s
Response at 5-6), Defenders, FoE, and ESC appeal the withholding of all responsive documents
withheld, whether in full or in part. We also appeal the withholding of the “1etter, consisting of
three pages, which was issued by the Office of Govemment Ethics,” which you have referred to
that office for a determination Department’s Response at 2. w 5 U.S.C. § 552(a)(6)(A)(i),
(_a)(6)(B)(i) (_requiring a determination within 20 working days and permitting an extension for
not more than 10 working days in “unusual circumstances”). Other documents that have been

specifically identified in our request letter and communications to the Department have not even
been acknowledged by the response.

rl`he basic concept of the FOlA is that federal agency records must be accessible to the
specifically exempt froiri this requirement “Disclosure, not secrecy, is the -
dominant objective ofthe Act.” D_epartment ofthe Air Force v. Rose, 425 U.S. 352, 361 (1976).
Subject to exemptions, the FOIA requires prompt disclosure of material upon a request that “(i)
reasonably describes such records and (ii) is made in accordance with published rules.” 5 U.S.C. '
§ 552(a)(3)(A). This requirement is echoed in the Departme`rit’s regulations 43 C.F.R. § 2.2.

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The central problem with the Depaitment’s Response is the complete lack of factual
context as to why certain documents or portions of documents have been withheld. For starters,
the Department has violated the FOIA by failing to provide a list of documents withheld 5
U.S.C. § 552(a)(6)(A(i). lnstead, the Departrnent has provided vague categories of documents
withheld, without any specificity as to the subject matter (e.g., “70 pages of questions/responses
regarding J. Steven Griles’ financial holdings used to review and certify . . .”). w Shennco
Industries. lnc. v. Secretal'v ofthe Air Force, 452 F. Supp. 306, 317 (N.D. Tex. l978),.rev’d on
other grounds, 613 F.2d 1314 (5th Cir. 1980) (“A person cannot effectively appeal a decision
about the releasability of documents . . . if he is not informed of at least a list of the documents to
Which he Was denied access . . .”).2

 

 

2 ln addition, two documents that the Departrnent provided, a June 28, 2002 e-mail from
Shayla Simmons to Arthur Gary, and a July 31, 2002 “Note to Steve Griles File” from Shayla
Sirnmons, have had material redacted under the nomenclature “Exemption 5.” Neither of these
documents appears on the list of material withheld, nor has the Department provided any
justification for the use of a FOlA exemption for the portions of the documents redacted

2

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RESPONSIVE DOCUMENTS APPEAR TO HAVE BEEN OMITTED ‘

Our FOIA request sought “documents” (broadly defined) relating to, inter alia, contracts,
agreements, or communications, including the contracts and agreements themselves, between
Mr. Griles and a) his former and!or current clients; b) l. Steven Griles and Associates; c)
National Environmental Strategies; andjor d) NES, lnc. The Department has not provided these
to us. ln addition, the list of material withheld does not include these documents. We know
that at least one such agreement exists because it is disclosed in Mr. Griles Public Financial
Disclosure Report (SF 278) that he filed orr April 24, 2001, so we find it disturbing that the
Departrrient does not even acknowledge the fact that it possesses these responsive documents,
particularly given that much of the controversy surrounding l\/lr. Griles’s activities stems from
these agreements Substantial media coverage has also focused on Mr. Griles’s financial
arrangement with his former firms and clients. M Eric Pianin, “Official’s Lobbying Ties
Decried,” The Washington Post, September 25, 2002, p. Al; Sasha Polak'ow-Su'ransky, “The
West’s Griles Virus: lndustry’s Man in lnterior,” The Arnerican Prospect, September 9, 2002;
Michael Grunwald, “lnterior Official’s Merno Raises Conflict lssue,” The Washin€ton Post, l\./lay
25, 2002, p. A2. The Departrnent itself knows that l\/lr. Griles’s agreement(s) were a source of
controversy w D.epart-ment’s list of material withheld (“55 pages of drafts `of internal
memoranda regarding issues raised by the Washingtori Post article of May 25, 2002"). The
following is an additional sample of documents that the Department has failed to provide or
include in its list of withheld documents: '

 

' Our FOlA request sought any documents regarding Mr. Griles generated pursuant to 5'
C.F.R. Parts 2634, 2635, or 2640, including “requests for, and authorizations granting,
waivers pursuant to 5 C.F.R. § Parts 2635 or 2640,. or any other regulation or law
regarding personal and business relationships of Federal employees,” as well as “any `
disclosures and any determinations made pursuant to 18 U.S.C. § 208(b)(1) or 5 C.F.R. §
2635.403(b).” We find it hard to believe that the Departrnent lacks any such documents,
particularly since the Washington Post reported that Mr. Griles stated he “obtained
approval for his scheduled meetings from the Interior Department’s ethics lawyer” before
meeting with former clients. Eric Pianin, “Official’s Lobbying Ties Decried,” B
Washington Post, September 25, 2002, p. Al.

' The .luly 31, 2002, “Note to Steve Griles File” from ShaylaSimmons and the.Ju.ly 26,
2002, “Note to Steve Griles” from Shayla Simmons refer to l\/lr. Griles’s recusal from
issues related to the Cobell settlement negotiations The Department has not provided
any recusal agreements relating to this, nor do these agreements appear in the list of
materials withheld.

' The July 11, 2002,. e-mail from Arthur Gary refers to a “definitive ruling” that Mr_
Griles’s assistant Holly Hopkin_s requested regarding the propriety of Mr. Griles meeting
with fenner clients ofNES. Mr. Gary states that “we were not prepared to give the
answer today, but would consult with SOL and give the word SOON” (emphasis in -

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original). No such ruling has been included in the documents provided or in the list of
material withheld

° the l\/lay ll, 2001 letter from l\/lr. Griles to Ms. Amy Comstock refers to an
“amendment,” which the Department has not provided to us or included in the list of
withheld documents

rini DEPARTMENT HAS Nor Rr:sPo_Ni)iii) ro KEY Poii'rioi\is or oUR
REQUEST. '

The Department has failed not only to provide a list of responsive documents as part of
the determination required by the FOIA,_ 5 U.S.C. § 552(A)(6)(A)(i), but has also failed to even
fully address some of the records iri our request Our request for “contracts, agreements or
communications7 including the contracts and agreements themselves between Mr. Griles and a)
his former and/or current clients; b) J. Steven Griles and Associates; c) National Environmental
Strategies; and/or d) NES, lnc.” was highly specific3 reasonably described the records sought and
fully complied with the Department’s rules for FOIA requests 5 U.S.C. § 552(a)(3)(A). The
FOlA requires the Department to address this portion of our request, disclose the records, or
explain why it is withholding them. §e_§, 5 U.S.C. § 552(a)(6)(A)(i), (ii) -(requiring a
determination within strict time limits -as to releasability of records requested'); id at §

5 52(a)(3)(A) (requiring agency to “rnake the records promptly available to any person”); i_d. at §
552(`0)(1)-(9) (specifying limited exemptions for disclosure). `For the Department to fail to
satisfy its legal mandate is a gross violation of the FOIA and entitles us to seek judicial review, in
order to have a court “enjcin the agency from withholding agency records and to order the

production of any agency records improperly withheld.” 5 U.S.C. § 552(a)(4)(B).

Relatedly, in withholding documents en mass, the Department has ignored the=purpose of
our original FOIA request We do not seek information the disclosure of which would violate
personal privacy, trade secrets, or other legitimate, protected interests per se for which the FOIA
provides exemptions We seek documents that elucidate potential conflicts of interest for which
disclosure is clearly in the public interest The financial and other agreement(s) Mr. Griles has
with his former firms are clearly responsive to this purpose, and we are willing to accept, at least
initially, the redaction of personal or confidential commercial infomiation, such as client names,
consistent with the FOlA, before disclosure, as long as the documents demonstrate the overall
structure of Mr. Griles’s arrangement with his former firms

 

THE DEPARTMENT’S CLAIMED EXEMPTIONS AND PRIVILEGES ARE HIGHLY
SUSPEC'I`.

The claimed exemption for -“trade secrets and commercial or financial information
obtained from a person |that is privileged or confidential” 15 U.S.C. § 5521b1§41[

Defeiiders disputes that certain documents withheld fall within FOIA’s exemption 4. A

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record is considered confidential according to this exemption if disclosure is likely to have either
of the following effects: l) to impair the govemrnent’s ability to obtain the necessary information
in the future or 2) to cause substantial harm to the competitive position of the person from whom
the information was obtained See generally `National Parks and Conservation Association v.
Morton, 498 F.2d 765 (D.C. Cir. 1974). To demonstrate “impairment,” the agency must provide
a detailed justification of the extent to which disclosure will impair the government’s ability to
obtain necessary information, supported by specific factual or evidentiary material. Pacific
Architects and Ensineers v. Renegotiation Board. 505 F.2d 383, 385 (D.C. Cir. 1987). A minor
impairment cannot overcome the FOlA’s disclosure requirement The impairment must be
significant enough to justify withholding the information Washington Post Co. v. United States
Dent. ofHealth & Human Services, 690 F.2d 252, 269 (D.C. Cir. 1982). The Department’s
Response lacks any indication of the circumstances under which it received the information or
that release of the information will impair its ability to obtain this information

 

Where the submitter has voluntarily provided the information to the Government, it is
exempt if the submitter can show that the information is not customarily released to the public7
Critical l\/lass Energy Project v. NRC, 975 F.2d 871, 879-80 (D.C. Cir. 1992)(en banc). Here,
however, the Department has failed to demonstrate that this information is not customarily
released to the public. Likewise, the Department has failed to demonstrate that the release of the
information will cause substantial competitive harm to the submitter. Again, the Department
should consider redacting truly confidential information, 5 U.S.C. § 552(b), iri order to provide '
documents that elucidate potential conflicts of interest, for which disclosure is clearly in`the
public interest `

The claimed exemption for “deliberative process~” ( 5 U.S.C. § '552(b)(5l)

The Department claims that several documents withheld in full (totaling more than 300
pages) fall within FOlA exemption 5 for deliberative process 5 U.S.C. § 552(b)(5). We repeat '
our concern that the denial letter fails to provide sufficient information to determine the
legitimacy of the use of this exemption in addition, since the Department has failed to describe
these documents other than in the broadest terms, we are placed in the position of appealing a
decision when no legal rationale has been provided for final agency decisions that were
obviously inade. '

The Department has failed to comply with the FOIA’s mandate-that “disclosure, not
secrecy, is the dominant objective of the Act.” Department of the Air Force v. Rose, 425 U.S.
352, 36l (1976). The ultimate purpose of Exemption 5, in the context of the deliberative process
that the Department claims, is to prevent injury to the quality of agency decisions NLRB v.
Sears Roebuck, 421 U.S. 132, 151 (1975). ln particular, it is intended, inter alia, to encourage
open, frank discussions on policy matters between subordinate and chief, to protect against
premature disclosure of proposed policies before they are finally adopted, and to protect against
public confusion by disclosure of reasons and rationales that were not in fact the actual reasons
for the agency’s actions Coastal States Gas Co;p. v. DOE, 617 F.2_d 854, 866 (D.C. Cir. 1980).

 

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In this regard, we have no intent to intrude upon the legitimate deliberative processes of the
Department Consistent with the purpose of our original request, we are merely seeking
documents evincing the _fi_n_al agency conclusion as to whether or not Mr. Griles has a conflict of
interest, along with the final analysis explaining that conclusion and reasonably segregable
material See, e._g., Vaughn v. Rosen (II)-, 383 F. Supp. 1049, 1053 (D.D.C. 1974),_2_1_f_`fE, 523
F.2d 1136 (D.C. Cir. 1975) (holding Exemption 5 inapplicable to “factual, investigative, and
evaluative portions” of documents which “reflect final objective analyses of agency performance
under existing polic)f’ and “reveal whether the agencies’ policies are being carried out”). §§
LSQ, 5 U.S.C. § 552(b) (requiring disclosure of “any reasonably segregable portion of a record”).

To fall within Exemption 5 , two requirements must be met First, the document must be
prepared prior to a final decision in order to assist an agency decisionmaker in arriving at his
decision. Renegotiation Bd. v. Grumman Aircraft Eng'g Corp., 421 U.S. 168, 184 (1975).
Second, a document must be a direct part of the deliberative process in that it makes
recommendations or opinions on legal or policy matters to be decided by the agency Vaughn v.
Rosen (Ll)z 523 F;2d 1136, 1444 (D.C. Cir. 1975). The government must carry its burden of
establishing the existence of a genuine predecisional process E. Post-decisional documents are
not protected by exemption 5. 4 NLRB, 421 U.S. at 151-52. Furthermore, factual information
that may be segregated from the rest of the document is not protected by the privilege Ryan v.
M, 617 F.2d 781,.790-.91 (D.C. Cir. 1980). See also, 5 U.S.C. § 552(b). The Department has
failed to meet its burden of demonstrating that Exemption 5 applies ~For instance, the “70 pages '
of questions/responses regarding l. Steven Griles’ financial holdings,” on their face, contain no
recommendations or opinions Similarly, the Department has failed to explain how a “one-page
memorandum from Sliayla Freeman Simmons to J'. Steven Griles discussing letter from the
Office of Govemment Ethics” was prepared prior to a final decision in order to assist an agency
decisionmaker in arriving at his decision. Moreover, the Department has not explained the
administrative process(es) for which itclaims the exemption and the role of the withheld
documents iii that process, as required by the Supreme Court. Renegotiation Board., 421 U.S. at
172-79. The Department has also failed to explain how the decisions at issue are reached or
provided the necessary information to establish the applicability of the deliberative process
exemption SafeCard Services, lnc. v. SEC. 926 F. 2d 1197, 1204-05 (D.C. Cir.l99l).

The Department’s recitation of Town of Norfolk v. U.S. CorDs of Engineers, 968 F.2d
143 8, 1458 (l51 Cir. 1992) to exclude scores of pages of drafts is misplaced ln that case, in
which non-disclosure was pennitted, the court stated, “The draft letter has no factual information
and it reflects a preliminary position by the Corps that was subsequently rejected.” _I_d_. at 1458.
l-lere, the withheld documents likely contain a great deal of factual information, and some of this
information mu_s_t have reflected final positions taken by the Department

 

Finally, through its blanket application of Exemption 5 to more than 300 pages of
documents, the Department has failed to heed the Supreme Court’s distinction between
“materi`als reflecting deliberative or policy-making process on the one hand, and purely factual,
investigative matters on the other.” EPA v. Mink, 410 U.S. 73, 89 (1973). Even if a document is_

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“predecisional,” “tlie privilege applies only to the ‘opinion’ or ‘recomrnendatory’ portion of [a
document], not to factual information which is contained in the document.” Coastal States Gas
Q_g;p., 617 F.2d at 867 See also, 5 U.S.C. § 552(b) (requiring release of “any reasonably
segregable portion of a record” requested). Also, the Department has failed to explain how a
final letter (“response letter to the Office of Government Ethics”) is part of the predecisional
process

The Department’s almost boilerplate application of the rule in Mapother v. DOJ, 3 F.3d
1533 (D.C. Cir. 1993), to “the remaining material” is similarly flawed. ln Mapother , the court
allowed the agency to withhold factual material assembled through discretionary selection from a
large number of primary documents l_d. at 1539. However, here the Department has failed to
demonstrate that the material was produced for the benefit of an official called upon to take
discretionary action, as in Mapother. I_d.3 ln fact, the l\/lapother court actually ordered the release
of documents held to be purely factual and not possessing a significant relationship to the Justice
Department’s deliberations E. at 1540. `

The claimed exemption for “attornev-client” and “attornev-work-product privilege” (5'

U.S.C. § 5521bl!511 -

The Department has withheld three documents claiming the attorney-client and/or
attorney-work-product privilege4 The attorney-client privilege protects confidential
commm'dcations, including facts from a client to an attorney, and from an attorney to a cl-ient, if
the communication is based on confidential information provided by the client Schlefer v.
United States, 702 F.2d 233, 245 (D.C. Cir. 1983). ln the FOlA context, the attorney-client
privilege protects an agency’s communications with its attorneys provided that the
communications are necessary to obtain informed legal advice and their disclosure is limited to
those who are authorized to speak or act for the agency. Coastal States Gas Coro. v. DOE, 617
F.2d at 862-64, citing Mead Data Central. lnc. v. United States Department of the Air Force, 566
F.2d 242, 254 (D.C. Cir. 1977).5 For none of the three documents that the Department is

 

3 Significantly, the Department also fails to describe “the large number of documents”
from which the information was drawn, or explain why those primary documents themselves _
were not released to us. Department’s Response at 4. Those primary documents are seemingly
responsive to our FOlA request

4 The Department has also withheld all three documents in full, claiming the the FOlA’s
deliberative process exemption under 5 U.S.C. § 552(b)(5). As discussed, supra, the
Department’s invocation of the deliberative process exemption is flawed.\

5 “The distinction between the [attorney-client privilege and the "deliberative process"
exemption] is that the attorney-client privilege permits nondisclosure of an attomey‘s opinion or
advice in order to protect the secrecy of the underlying facts, while the deliberative process
privilege directly protects advice and opinions and does not permit the nondisclosure of

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claiming this privilege does the Department articulate (other than in the most general terms) who
made the communication who received it, whether the communication was based on confidential
information provided by the agency, whether the communications were with a private or federal
attorney, and whether the disclosure was limited to those who are authorized to speak or act for
the agency.

The attorney-work-product privilege protects documents prepared by an attorney “in
contemplation of litigation which set forth the attorney s theory of the case and his litigation `
strategy.” N__L__RB, 421 U. S. at 154 The Department’ s Response merely states that this document '
was ‘preparcd by an agency attorney in contemplation of litigation ” Department’ s Response at
5. However the Department fails to explain how a memo from the Ethics Office regarding the
propriety of Mr Griles’ s participation in a meeting regarding the C_o_bell litigation “sets forth the
attorney s theory of the case and litigation strategy” in the Cobell case. NLRB 421 U.S. at 154.
ln sum, the Department has not demonstrated that the documents withheld fall within the FOlA’s

Exemption 5 for either attorney-client privilege or attorney-work-product privilege

Nonetheless, we are not seeking to violate either of the privileges under which the
Department has withheld these three documents For two of these documents (“4 pages
consisting of a transmittal memo and memorandum regarding whether J. Steven Griles should
recuse himself in the Cobell litigation” and “l page consisting of an internal memo to .l. Steven '
G1ilesf 1rom the Ethics Office about participating in a meeting with the Treasury Department on
t11e Cobell litigation”), we are not seeking disclosure except to the extent that they are responsive
to the purpose of our original request-namely documents that elucidate potential conflicts of "
interest, for which disclosure is clearly in the public interest as well as an explanation of the
structure of Mr. Griles’s arrangement with his former firms

The third document is “1 page consisting of an e-mail that reveals attorney-client
privileged communication relating to the Assistant Secretary for W'ater and Science.” The
Department has concluded that this document is “unrelated and unresponsive to this FOIA.” We
are not seeking unrelated and unresponsive documents If the Department’ s description of this
document is accurate (and we lack sufficient information to say that it is) then the Department
need not have identified t11e document in the first place.6

 

underlying facts unless they would indirectly reveal the advice, opinions, and evaluations
circulated within the agency as part of its decision-making process.” Schlefer, 702 F.2d at 245 n.
26, citing Mead Data, 566 F.2d at 254 n.28.

6 However, this may be an appropriate document to be included in a Vaughn index. _S_L
Vaughn v. Rosen (l), 484 F.2d 820 (D.C. Cir. 1973), cert denied, 415 U.S. 977 (1974).

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CONCLUSION

The courts have consistently upheld the FOlA’s intent to facilitate maximum disclosure
of government records. “[E]xemptions from disclosure must be construed narrowly, in such a
way as to provide maximum access consonant with the overall purpose of the [FOIA].” Vaughn
v. Rosen (I), 484 F.2d at 823. The Department’s refusal to disclose the information requested
violates the spirit and letter of the FOIA, and significantly harms the public interest.

Thank you for your prompt attention to this matter. As provided by the FOIA and
Department regulations, we expect a reply to this request within twenty business days of receipt.
5 U.S.C. § 552(a)(6)(A)(ii), 43 C.F.R. § 2.32(a). Please do not hesitate to call us ifwe can be of
further assistance We look forward to your reply and hope we can resolve this matter amicably
and expeditiously

Sincerely,

/J@M LW

»l:§>r wiiriam J. snape, 111

Vice President and Chief Counsel

Kumar VaSWani
Staff Attomey

Enclosures: Original FOIA request

Department of lnterior response

Eric Pianin, “Official’s Lobbying Ties Decried,”
The Washington Post, September 25, 2002

Sasha Polakow~Suransky, "‘The West’s Griles Virus:
lndustry’s Man in lnterior,” The American Prospect,
September 9, 2002 `

Michael Grunwald, “lnterior Official’s Memo Raises
Confiict lssue,” The Washington Post, May 25, 2002

cc: Kristen Sykes, Friends of the Earth
Brock Evans, Endangered Species Coalition

 

 

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Official’s lobbying lies Decried

Interior’s Griles Defends Meetings as Social, lnformational

By Enrc Pr.ANIN
Woshingron Post Sta_# Wn`ter

 

When several senators voiced
concern in May 2001 that his ex-
tensive lobbying ties might con-
flict with his new job as deputy in-
terior secretary, J. Steven Griles
insisted it wouldn’t he a problem

"l will do my utmost . . . to pn.L
vent the appearance of any impro-
prieties or conflicts' m terms of my
priorassociations,” Grilestold the
Senate Energy and Natural Re-
sources Gomniittee during his
confirmation hearing He signed
two letters pledging to recuse
himself for up to si_x_ years from
matters that could affect his for-
mer lobbying finn or the array 01`
utilities, mining companies and
other energy producers he re-
presented

Within weeks of taking office,
Griles began a series of meetings

with former clients and adminis
tratjon officials on regulatory mat-
ters important to several of his
fenner clients

Griles, 54, says he has violated
neitner nis piedge to the senators
nor federal guidelines meant to
curb conflicts of interest. Sorne
environmental groups disagree,
however, and a U.S. senator has
called for an investigation

A review of Griles’s activities
shows that he has met frequently
with some of the energy industry
leaders he once represented For
example, he met at least three
times withI-laroldP. Quinn Jr. and
other senior officials of the Na-
tional Mining Association be~
tween Aug. ‘16, 2001, and Jan. 3,
while the industry group»-a for-
rner client_was lobbying the ad-
ministration to loosen standards

 

See GRILES,AIO, Col. l

BY lmle GRUBBS-B|LllNGS GAIEF[E V|A ASSDClATED, PRE§S

Deputy interior Secretary l. Steven
Grites says he has not violated
guidelines meant to curb conflicts
of interest. Some critics disagree

 

 

 

Case 1: 03- -c

.~M~» `~

 

 

CP:ILES, From Al

 

\.11.1`

-for mountaintop mining operations

..arrd`preserve a hardrock mining

`\l'aw highly favorable to the indus-

“I_f¥~

f He also took partin a meeting on
Sept. 10, 2001, with a dozen top ex-
ecutives of another former client
.the' Edison Electric Institute, to dis-
cuss Bush administration plans to
relax clean-air enforcement actions

zagainst aging coal-fired power

gplants but to seek tough new in-
'duetry-wide standards for emis-
sions of sulfur dioxide, nitrogen ox-
;ide and mercury Accounts of the
meetings come from 'Washington
Post interviews and oflicial govern-
ment logs obtained by two environ-
mental grenps,‘Fr-i'ends of the Earth
and the Citizens Coal Council.

1 Federal ethics statutes and `reg-
ulations are open to wide interpre
tation. Generally, however, they
prohibit a government ofiicial from
knowingly participating “person-
ally and substantially” in any “par-
ticular matter" that could affect his
er her own financial interests or
that involves a former employer or
client of that employer. The stated
intent is to avoid a situation in
which “a reasonable person” famil-
iar with relevant facts would ques-
lion the etl.icial’ s impartiality

, In a recent interview, Griles said
his meetings with former clients
were largely social or informational
in nature and that he never t`ook
part in administration delibera-
tions over “any particular matter”
that might directly affect his former
lobbying firm or clients. When' 111
doubt he said, he obtained approv-
al for his scheduled meetings from
the Interier Department’ s ethics
lawyer to avoid the possibility of a
conflicts of interest More than
enee, he said, he backed out of
meetings when it appeared he
would be discussing matters of di-
rect interest to fenner clients.“We
are all as scrupulous as we can beto
assure that 1 will not be involved in
any particular matter that would vi-
olate the ethics agreement or even
have the appearance of a conflict of
interest,” Griles said. “The presi-
dent said he wanted -this adminis-
tration to be held to the highest eth-
ical standards1 and 1 don’t want it
ever to be said that I didn’t.”

Maintaining Contacts

 

_As the interior ‘ Department’s
No. 2 ofticial, Griles is responsible

' for managing the govemment’s

vast mineral and land holdings as
well as conferring with other de
partments and the White House on
a broad range of energy-related is-

 

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sues with substantial environmen-
tal consequences and dnancial im-
plications for the energy industry.

While maintaining contacts with
fenner clients and industry associ-
ates, Griles had at least 32 meet-
ings with executive branch officials
en pending mining and clean-air
regulatory matters that were of
concern to several of his former cli-
ents. Those meetings occurred be-
tween July 27,' 2001, and Feb. 2(},
according to the logs.

Griles’s critics say he flouted his
recusal agreements and govern-
ment conflict-of-interest rules by
repeatedly involving himself in is-
sues with significant economic con-
sequences fer his fenner industry
clients

“The biggest thing is that Mr.
Griles said he wouldn’t be involved
in any particular matter that im-
pacts his previous clients and e_rn-
ployer, and he clearly was involved
in discussions about rule-making
that have weakened environmental
laws and have had positive impacts
on his previous clients,’l said Kris~
ten Sykes, a researcher for Friends
of the Earth.

C_arolyn Johnson, staff director
of the Citizens Coai Gouncii, said
Griles “just didn’t hold back at a]l. ”

Sen. Ron Wyden (D- Ore. ), one of
four energy committee members
who voted against Griles’s nom-
ination, said last week that the Inte-
rior Department’s inspector gener-
al should investigate Griles’s
conduct to determine whether he
directly or indirectly helped his for-
mer lobbying firm and clients, as
some are alleging “l think that it’s
critical to get to the bottom of this
situation and not have the public
wondering if powerful special in-
terests get dealt a winning hand,
with Mr. Griles doing the dealing,”
Wyden said.

Griles maintains a financial link
to one of his former Washington
lobbying firms, National Environ-
mental Strategies. lt was founded
in 1990 by Marc Hinunelstein and
Haley Barbour, before Barbour be-
came chairman of the Republican
Nationai Oommittee. As a condi-
tion of his July 12, 2001, Senate

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conhrma’cion, Griles sold his in-

terest to erhmelstein and_closed § _-
another firm called J. Steven Griles f

& Associates.
Under the sales agreement Him-

 

»».*-»',w.,;‘»z 1_ .

melstein‘s firm is_ paying Griles
$284,000 annually for four years. ;' "

Griles began receiving installments
on the roughly $1.1 million pur-
chase agreement last year, on top of
his $150,000 annual government

salary. _

Griles pledged in one of his recu-
sal letters to take no action that
would affect his former Erm’s “ahil-
ity or willingness” to continue mak-
ing t.he payments Last week, he de-
fended the arrangement as a
reasonable business transaction
that would not leave Hirnmelstein’s '
lobbying firm strapped for cash.
H.immelstein said recently that,
since Griles moved to Interior, the
two men have continued to social-
ize, occasionally getting together
for a beer or dinner, but that "We
don’t talk about work. We’ re not al-
lowed. ”

Barred From {;ertainl issues

 

, The Bush administration has re-
cnrited scores of corporate exec-
utives and industry lobbyists to
serve in key regulatory posts, par-
tictdarly at the Energy Depart-

ment, the Environrnental Protec-_

tion Agency and Interior. Many of
these officials are barred by law and
administrative policies from han-
dling certain issues for a year or
more because of the potential for

 

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conflicts of interest involving for-'

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interior Secretary Gale A.` Nor-
ton, a Colorado lawyer and onetirne
advocate for western property in-
terests, and at least 10 other high-
ranking lnterior officials have re-
cused themselves from certain gov-
ernment activities that plight affect
their fenner employers clients, or

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mdustry-backed foundations ac-
cording to department documents
Griles, a niid-level Interior offi-
iicial tn the Reagan administration

vice presidentl has generated con-
` 1 _f cem among environmentalists and
_; some lawmakers because of his ex-
lF tensive industry ties and his rep
utation for aggressiver pushing to
loosen environmental restrictions
_ to open more public land to drilling
: f and niining. The Washington Post
- ' reported earlier this year that
_ Griles had intervened in a dispute
. over a massive coal methane gas ex-
traction project involving energy
companies he once representedl
Griles wrote a memorandum chal-
lenging an EPA report critical‘of
the country’s largest domestic en-
ergy exploration project in Wyo-
rini-fgs Powder River Basin.

The Interior Department’s law-

les’s memo did not violate ethics
‘ rules or his recusal agreement
3 f Griles said he subsequently signed
‘. l another agreement on May 8, spe-
; . cincally disqualifying himself from
` ;coal-bed methane issues “for the
“ t § world to know I'm not even going
: ` to be talking to anybody about it

again

The lnterior Department logs
cite several meetings between
Griles and`Quinn, the National
`§Mining Association’s senior vice
' ‘ president The two men had lunch
ion Aug. 16, 2001, and then met
again on Nov. 29. A spokesman for
Quinn described the lunch as a "so-
_' cial gath'ering,” and said Quinn
' couldn’t recall the second meet-

ing`s purpose
' The National Mining Associa-
, _,‘ tion was concerned at the time
` _ about the administrations deliber-
f ations over a proposed rule change
" ; to make it easier for mining compa-
_ =_`_f nies to dump dirt and rock waste
'_‘-_'= from mountaintop mining opera-

 

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-yers concluded in Apn'l that cri--

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With Former Clients

tions into adjoining valleys and
strearns-_a move strongly support-
ed by the group. The rule change-
which eventually was approved by
H'\n FPAN and fha A“rrr“r florth r\£ E¢'l_

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gineers April but then blocked _by a
federal court ruling-_would have
provided a major boost to low-
sulfur coal mining operations iii
West V`irginia and Kentucky and
would have stepped up hardrock
mining in western states.
According to an Interior depart-

ment routing slip. Quinn sent Nor- '

ton a “courtesy copy" of his analysis
of the draft rule changes on Dec. 3,
2001, highlighting his group’s con-
eems and criticisms and recom-
mending deletions Quinn says he
never sent the memo. Griles said

that he may have discussed moun-'

taintop mining with Quinn in pass-
ing, but that he doesn't recall any
substantive discussions or Quirin’s
memo.

On Jan. `8, Quinn visited Griles
again, accompanied by mining as-
sociation president lack Gerard
and four other officials This meet-

ing was for “a more general rhs-_

cussion of the outlook for milling

reform," according to Carol Raul-

ston of the National Mining Associ-
ation, who attended the 7 a .rn ses-
sion.

Mining association officials were
alarmed by a letter Norton had sent
to Congi'ess in October 2001 say-
ing she would support changes in

an 1872 law governing hardrock '

mining on federal lands that likely
would add to lndustry’s costs and
impose new federal management
constraints lrWe were there to dis-
cuss where that effort was headed
from the industry perspective,”
said Raulston.

Griles said that at most he
briefed the milling executives on
where the deliberations stood, but
that he referred them to another In-
teri'or official to talk specifics Nor-

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ton never formally proposed legis-

lation to revise the mining law.

Policy Deliberations j t

 

Griles has also been involved in
deliberations over clean-air e_n-
forcement policy and initiatives, a
tnriig li_a_qr__l__ler__l_ nrimiri_lv by the EPA
and the Energy Department Ac-
cording to his calendar, Griles at-
tended at least 16 meetings with
other administration officials or'jn-
dustl'y groups or advocates to dis~
cuss air pollution issues Oneof
those sessions, on Oct. 5, 2001,»1'"11-
cluded Wbite House political ad-
viser Karl Rove, according to the
logs.

On Aug. 30, 2001, Griles was
briefed on air pollution issues lby
the Electric Power Research `ln-
stitute, an industry group '*re-
presented by Himmelstein. On
Sept. 10, Griles.attended a meeting
organized by James Connaugiiton,
the Wbite House environmental ad-
viser, with 12 utility executives
who belong to the Edisou Electric
lnstitute, another former Griles cli-
ent.

the institute, said the officials dis-
cussed two matters of major con-
cern to the utility industry: One
was the administration’s progress
in rewriting “New Source Review”

niles to reduce the number of gov-
eminent suits brought against old-
er coal- fired power plants for vio-
lations of the Clean Air .A_ct, a move
heartin endorsed by the industry
The other was an administration
proposal dubbed “Clear Skies," in-
tended to sharply reduce industry-
wide conscious of sulfur dioxide,
nitrogen oxide and mercury, which

1

Dan Riedinger, a spokesman for

can cause serious health problems `

Officials of the Edison'Electric
lnstitute were troubled by aspects
of “Clear Skies” and provided Coii-
naughton, Griles and others with
computer analyses highlighting the
potential adverse affects of such an

approach on energy costs and sup-
plies. -

 

 

 

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THE AMERICAN P_RoSPECT

The West's Griles Virus: 7

lndustry's man in |nterior

By Sasha Po|_akow-Suransky

The American Prospect: Issue Date: 9.9.02

Print Friend|y | Emai| Artic|e

"This hopefully will be a breath of fresh air," exclaimed National
Mining Association spokesman John Grasser, with no intended irony,
after he learned that J. Steven Griles had been nominated as the
Department of the |nterior's deputy secretary. Griles, who epitomizes
the revolving door between government and industry, has alternated

 

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between getting rich working for industry and serving at high-level
government posts, where he has devised industry-friendly policies to
open public lands to drilling and mining

Duiiiig the Reagan years, Griies presided over the gutting of the
|nterior Department’s Office of Surface Mining. He was accused of
suppressing U.S. Fish and Wildlife Service reports revealing the
environmental hazards of offshore drilling in California in order to
speed lease sales. And on his way out in 1988, he gave a "farewel_l 7
gift" to big coai, reducing royalty rates just before taking a job in

the industry. ' -

Between his government stints, Griles served as a vice president for

the mining giant United Co. and worked as a lobbyist for leading oi|,

gas and mining companies

During his 2001 Senate oonnrmation hearings, Griles attempted to show
genuine remorse for his activities during the Reagan years, insisting

to a skeptical Sen. Ron Wyden (D-Ore.) that he had grown "older, and
perhaps wiser," and "learned that through listening and bringing

people together better solutions can occii_ri" But Griles' recent

activities offer precious little evidence that he has chen ed .

Beneath the rolling ranches of central V\.lyorning's Pcwder River Basin,
lies a rich source of clean~burning natural gas known as coal-bed
methane; it’s arguably the equivalent of more than a year's gas supply
for the entire country. Whi|e the federal government owns only 10
percent of the basin's surface land, it owns 63 percent of rights to
the area's underground minerals. But most ranchers living above
coal-bed methane deposits first learned of their property's
subterranean riches when industry representatives knocked on their
doors. The interior Department had already sold the underground
mineral leases to the oil and gas companies_; only the details of _
surface damage could be negotiated. And with 51 ,000 wells slated to be
drilled in Wyorning over 10 years, the damages on the surface will
amount to more than just a b|emish: 17,000 miles of mostly dirt and
gravel roads, 20,000 miles of new pipeline, and close to 5,000
containment pits for the more than 1 tri_l|ion gallons of non-irrigable
Water pumped from underground. `

The master industry strategist of this project was one J. Steven
Griles. From 1998 to 2001, Griles worked as a tobbyist for National

 

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Environmental Strategies (Nationai), a firm founded by former
Repub|ican Nationai Committee Chairman Haley Barbour. Griles also
lobbied for NES lnc. and his own tirm, J. Steven Griles and
Associates, during which time he represented the Coa|bed Methane Ad
Hoc Committee, as weil as Western Gas Resources, Devon Energy and
Redstone, all major players standing to benefit from drilling in the
Powder River Basin. After his appointment at the lnterior Department,
Griles sold his client base to colleagues at National and NES lnc. in
exchange for an annual paycheck of $284,000 over a period of four
. years. |n a letter Griles sent to the lnterior Department’s
human~resources office in April 2001, three months prior to his
appointment, he pledged to recuse himself for "Mi£a_tigggf,l.bis

continuin financial interest " and "fchter the final
paymenti&recemedf_fm any matters that might affect National and
NES lnc.' s abilities to make their annual payments (or any matters

involving the two firms or their clients).

But by August 2001, Griles had reduced the recusal period to just one
year. That recusal lapsed earlier this month, and Griles is now

technically free to supervise matters involving National and NES |nc.,
Whll’!h ¢"Qni_`lnun `I’Q ren_r'p¢:¢:ant 'l'he major players| m coa!_ bed methane

development `l'o Griles, the $234,000 annual compensation is "b ok
value" for "the value of the client base l have bui|t." To critics,
it’s a blatant conflict _of inte. est.

Kristin Sykes of Friends of the Earth says of Grile's: "He's so

embroiled. He worked for the Coa|bed Methane Ad l-loc Committee, then he
goes to interior and greases the skids. He' s been working on it from

start to finish and just happens to bel fnishing it up while he' s in

the public sector. "

Griles' behavior has even drawn the ire of conservatives, including

Tom Fitton of the right-wing Judicial Watch, known for hounding

President Clinton in the Monica Lewinsky case. "He's receiving money
from a company whose Hnances are dependent on decisions he's making,"
Fitton says of Griles. "They've put what many believe are needed

energy reforms in jeopardy because of appearances of impropriety." AS

of press time, the Department of the interior had not responded to any

m of the Prospect's questions regarding the appearance of impropriety

Griles' conflict of interest came into even sharper relief this April,
when he intervened after learning that the Environmenta| Protection

 

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Agency planned to reject an industry-friendly environmental-impact
statement on the Powder River Basin. The draft statement was prepared
by Greystone Environmental Consultants, a private firm. lncidenta|ly,
Greystone had been recommended to the interior Department iri June 2000
by Western Gas Resources, a client of Griles' at the time, Griles sent
a memo to Linda `Fisher, the EPA's second-in-command, urging her not to
release an evaluation that "wi|l create, at best, misimpressions and

possibly impede the ability to move forward in a constructive manner."

This episode ied to another spate of outcries from the environmental
community. Griles eventually signed a second recusal on May 8
disqualifying himself from any further matters related to these impact

statements But in the eyes of ethics watchdogs, the damage had been
`done.

Bill lllillison,l of the nonpartisan Center for Public lntegrity, finds

the multiple recusals almost comical. "For a person who becomes a
federal officia|, it’s not up to him to jump in and out when he `

wants," Allison says. "You can't recuse yourself except when you feel
iike weighing in on an issue." And if the recusal is genuinely

observed, Wonders Aiiison, then what’s the point of appointing someone
with so many strong ties to industry to a largely regulatory office'?

"Why do you want him there if he can‘t do the job he's there to¢do?"
Aliison asks.

And despite the two recusals, it appears that Griles continues to run

the show. According to an interior Department official who wishes to

remain anonymous, "Nothing happens here without Griles' signature.
He's the secretary of the lnterior. l don't know what [Secretary] Gale

Norton does all day." -

The pattern echoes Griles' earlier career. in 1988, when the
Department of the lnterior's Fish and Wildlife Service criticized
Ca|ifornia offshore-drilling lease sales, Griles attacked its

comments, saying "[This]-is part of the public record and could prove
v_ery damaging to this lease sale."`ln a press conference in April

1989, soon after the Exxon Valdez oil spill, Rep. Mel Levine

(D~Ca|if.) pointed to a Griles memo as "the 'smoking gun' of an agency
whitewash." Rep. Leon Panetta (D-Calif.) accused Griies and company of
“trying to 'slam-dunk' oil drilling off the Ca|ifornia coast without

paying attention to its _consequences." Despite Griles' assertions to

the contrary, the latest EPA episode reveals that little has changed.

 

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Griles' dubious judgment is not limited to the environment As the

interior Department’s deputy secretary, he's also responsible for the

Bureau of indian ,Affairs, which is currently being sued by 300,000

American indians in a dispute over mismanagement of federally

administered trust accounts dating back to 1887. if victorious, the

plaintiffs could collectively receive close to $10 billion. in '

November 2001, Griies filed an afndavit confirming that he was the 2
interior Department_ofticial responsible for trust reform. Ongoing

failure to account for missing trust money has left Norton and Griles

facing contempt charges in the ongoing Cobell v. Nor.ton lawsuit.

The interior Department’s bungiing of the case became more evident on
Juiy 30, when its special trustee for American lndians, Thornas
Slonaker, resigned. Slonaker claims he was forced out, and sources
close to the case say Griles and White House counsel Kyle Samson
barred Slonaker from telling the Senate indian Afiairs Committee that _
the interior Department was unable to live up to its trust

responsibility because documents had been destroyed. When Slonaker, in
response to a question, nonetheless told the committee the real story,
he was gone from the interior Department within days. An angry Sen.
McCain (R-Ariz.) has promised a congressional investigation of
Slonaker's so-ca|ied resignation.

Griles exemplifies an administration in which high~level appointees

` move seamlessly from lobbying firms and big corporations into roles
where they are charged with regulating the industries from which they
came. Despite a 1990 executive order -- which prohibited government
employees from accepting "any gift or other item of monetary value
from any person or entity seeking official action from, doing business
with, or conducting activities regulated by the empioyee‘s agency" --
Griles takes in $284,000 per year from his old lobbying firms. They,
meanwhile, continue to represent companies (many of them former Griles
ciie_nts) that are seeking action from, doing business with and are
regulated by the Department of the lnterior.

ivieanwhiie, in the Powder River Basin, massive coal-bed methane
development is all but certain. Ranchers and environmentalists managed
a small victory this year when lnterior's Board of Land Appeals upheld
their protest against lease sales based on an environmentai-impact
statement issued before coal-bed methane was even on the map. But the
board may not have the final word.

 

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The oil company Pennaco (now ivlarathon) has since sued the Department
of the interior, and that case is now in federal court. But Nort`on and

Griles don't seem intent on mounting a defense, although the case

names them as defendants On duly 18, the interior Department’s
solicitors requested reconsideration and a stay. The Wyoming Ou_tdoor
Councii and others have filed a motion to intervene to ensure a solid
defense of the board's decision. "You wonder how hard they're going to
defend it," says Wyoming Outdoor Council attorney Tom Darin.
Considering what Norton and Griles' old industry buddies stand to lose

if the interior Department wins, it’s not surprising.

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Mr. William J. Snape, 111
Vice President and Chief Counsel
Mr. Kumare Vaswani
Staff Attorney
Defenders of Wildlife
1101 Fourteenth Street, N.W.
Suite 1400
Washington, D.C. 20005

Dear Mr. Snape and Mr. Vaswani:

This concerns your February 4, 2003, Freedom of Information Act
(FOIA) appeal (FOIA 2063-091}, which was received in this Office
on February 6, 2003. Your FOIA appeal is related to your
September 25, 2002, FOIA request to the Department of the
interior, Office of the Secretary (OS). In your FOIA request,
you sought copies of several categories of financial documents
concerning Mr. J. Steven Griles, Ms. Holly Hopkins, and

Mr. James Cason. By letters of December 6, 2002, and January 8,
2003, 03 responded to your FOIA request,

Your FOIA appeal pertains to the following three issues:

Issue 1: the denial on the basis of exemptions (4) and (5)
of the FOIA, of Certain responsive material;

Issue 2: OS referred one responsive document to the Office
of Government Ethics for its review and release
determination, and that agency has not contacted
you regarding a release determination; and,

Issue 3: OS’response was incomplete.

Issue 1 Response:

Your appeal, as it pertains to the withheld documents, is with
the Office of the Solicitor (SOL) for legal review. The
extraordinarily large number of FOlA appeals that the Department
has received has created a heavy workload which will delay the
Department¥s response to this issue of your appeal. Please be
assured that the Department will make every effort to provide you
with a determination on your appeal as soon as possible. lt you
have any questions regarding this issue of your appeal, you may
contact Ms. Darrell Strayhorn at (202) 208-5216_

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The subject document is a three-page letter which was issued by
the Office of Government Ethics. The OS acted appropriately when
it referred the subject document to the Office of Government
Ethics for its review and release determination. Since this
document was issued by the Office of Government Ethics, the
Department needed to refer it to that agency for a release
determination (43 CFR § 2.22(a){2)).

In its response letter, OS advised you that if you do not receive
a response you can write or call

Mr. William Gressman

Sr. Associate General Counsel

Office of Government Ethics

120l New York Avenue, N.W., Suite 500
Washington, D.C. 20005

Telephone number: (202) 208”8000.

 

The portion of your appeal pertaining to the issue of an
incomplete response is denied. In response to this issue of your
appeal, the Department contacted OS and directed it to review its
file search, taking into consideration the references that you
made to specific documents, and the specific types of documents
that you are seeking. The OS has advised the Department that, in
response to your FOIA appeal, it conducted another file search;
however, this second file search did not locate any additional
responsive documents.

The Department is satisfied that OS has met its obligations under
the FOIA by conducting a reasonable search of all files likely to
contain documents responsive to your FOIA reguest. The
Department has no reason to question the file searches conducted
by OS.

The FOIA requires an agency to disclose, upon request by any
person, nonexempt documents that are in its possession and are
retrievable by a reasonable search. An agency is not required
under the FOIA to produce records which it does not have or
cannot locate through a reasonable search.

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Tbis is a iinal determination §f-four appeal for the nepartment.
as it pertains to lssne 2 and lssue 3 You have the right to
seek judicial review, of the determinations of all three issues
of your appeal in the United States District Court for the
District in which you reside or have your principal place of
business, the District in which the records subject to your
appeal are located, or the United States District Court for the
District of Columbia. However, the Department hopes that you
will defer action until a final decision has been reached on the

portion of your appeal pertaining to withheld documents.

The Department regrets the delay in responding to lssue l of your
appeal and appreciates your consideration in this matter.

Sincerely,

 

William W. Wolf
Freedom of Information Act
Appeals Officer

Enclosure

bcc: SOL: DStrayhorn

OS: SESloca

Plo: subj/Rdg
PlO:WWolf:ww:02/20/03:208-5339:H:lNTHSMEX»IR~NR.BOQl

